Case 19-11043 Doc 23 Filed 05/17/19 Entered 05/17/19 10:55:15 Page 1 of 1

PROCEEDING MEMO AND MINUTES OF
THE CHAPTER 7 §341 MEETING
Date: 05/16/19 Time: 04:30pm

IN RE: CASE NO. 19-11043 Section "B"
RUIZ, GABRIEL
RUIZ, ERIKA Y
APPEARANCES:
() Debtor 1 ( tor 2 (Spouse in Joint Cases)
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( Vy Required SSN verification produced ¢_ )Kequired SSN verification produced
(Pay advices received 72 ¢57 (Wy Pay advices produced 72> , rues
Credit Counseling certificate (filed ( ) not filed j- Z +3
Tax returns received for _Ao/7 (years) on

 

Financial Documents were (_ ) retained by Trustee ( ) returned to Debtor(s)

é3 r(s) Representative
(© Attorney for Debtor(s): RACHEL THYRE ANDERSON
( ) Debtor(s) Appeared Pro Se
YES( )NO(_ ) If Pro Se, did anyone assist with preparation?
YES( )NO(_ )If Yes, Debtor has completed pro se form?

 

THE MEETING OF CREDITORS WAS:
(WHELD or
( )NOTHELD or
() WAS NOT CONCLUDED AND CONTINUED to day of , 2019 at : m.

YES(VYNO( ) Attorney for debtor(s) filed statement of compensation in accordance with 11 U.S.C. 329. f2 { 0
> Py 4

 

 

 

 

 

( ) CREDITOR(S): Represented By:

DEBTOR(s) REQUIRED TO:

( ) Amend Schedules and Statements within days of the §341(a) Meeting.

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In accordance with FRBP 6007 the Trustee announced intention to abandon any interest jin:
Hsehld Goods/Appliances/Furn.

Wearing Apparel Spots & oe) ae
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DATED TRUST

TRACK # ( Form Rev. 9/8/17

 
